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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           )   Chapter 11
In re:                                                     )
                                                           )   Case No. 22-11068 (JTD)
FTX TRADING LTD., et al.,1                                 )
                                                           )   (Lead Case)
                                    Debtors.               )
                                                           )   (Jointly Administered)
                                                           )

          EMERGENT DEBTOR’S MOTION FOR ENTRY OF AN ORDER
    APPROVING POSTPETITION FINANCING AND GRANTING RELATED RELIEF

         Emergent Fidelity Technologies Ltd (the “Debtor”), as debtor and debtor-in-possession in

Case No. 23-10149-JTD, respectfully moves (the “Motion”) for entry of an order granting the

relief set forth below and represents as follows:

                                           RELIEF REQUESTED2

         1.       The Debtor respectfully requests entry of an order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), pursuant to sections 105, 361, 362, 363,

364 and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

Code”), rules 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and rules 2002-1, 4001-1, 4001-2, 9006-1, 9013-1 of the Local Rules

for the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

granting:




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
  Capitalized terms used but not otherwise defined in this Relief Requested shall have the meanings ascribed to such
terms elsewhere in this Motion.
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(a)    authority to obtain a short-term, senior secured debtor-in-possession credit facility
       (the “DIP Facility”) in an aggregate principal amount up to GBP £250,000
       (approximately USD $302,000 as of the filing of this Motion) in new money
       advances pursuant to that certain DIP Term Sheet attached as Exhibit 1 to the
       Proposed Order (the “DIP Term Sheet,” together with the Proposed Order, and
       any other agreements or documents executed in accordance and connection
       therewith, as may be amended, restated or supplemented from time to time,
       collectively, the “DIP Documents”), by and among the Debtor, as borrower,
       Fulcrum Distressed Partners Limited, as lender (together with its assigns and
       successors, the “Prepetition Lenders” or the “DIP Lenders,” as applicable), which
       may be used to fund certain administrative expenses of the Debtor incurred in
       connection with the JL Appeal;

(b)    authority to (a) enter into, execute and perform under (i) any amendment or
       modification of the DIP Term Sheet that is consistent with the Proposed Order,
       and (ii) any and all security agreements, deeds of trust, notes, control agreements,
       Uniform Commercial Code financing statements, documents and instruments
       either or both executed and/or delivered under the DIP Term Sheet, and (b) take
       and perform all other acts and steps as may be required or contemplated by or in
       connection with the DIP Term Sheet and the Proposed Order;

(c)    authority to incur obligations and liabilities under the DIP Term Sheet (the “DIP
       Obligations”), to perform any acts as may be necessary or desirable in connection
       with the DIP Obligations, and to use proceeds of the DIP Facility as permitted in
       the DIP Term Sheet;

(d)    authority to grant the DIP Lenders (i) a perfected first-priority lien and security
       interest in the DIP Collateral to secure the DIP Obligations to the extent that such
       Collateral is unencumbered or subject to invalid, unperfected, unenforceable or
       avoidable liens, and (ii) a perfected second-priority lien and security interest in
       the DIP Collateral to secure the DIP Obligations to the extent such Collateral is
       subject to any liens that are (x) valid, perfected, enforceable and non-avoidable on
       the Petition Date, including any disputed liens asserted by BlockFi to the extent
       such liens are later found to be valid, perfected, enforceable and non-avoidable, or
       (y) valid liens in existence on the Petition Date that are perfected subsequent to
       the Petition Date in accordance with section 546(b) of the Bankruptcy Code;

(e)    authority to grant the DIP Lenders allowed superpriority administrative expense
       claims on account of the DIP Obligations to the extent applicable under section
       364(c)(1) of the Bankruptcy Code;

(f)    approval of the application of collections and proceeds of all of the DIP Collateral
       and the payment of DIP Obligations in the manner and on the terms set forth in
       the Proposed Order;




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           (g)     modifying the automatic stay under section 362 of the Bankruptcy Code to the
                   extent hereinafter set forth and waiving the fourteen (14) day stay provisions of
                   Bankruptcy Rule 4001(a)(3);

           (h)     waiver of the Debtor’s ability to surcharge against the DIP Collateral to the extent
                   applicable under section 506(c) of the Bankruptcy Code, and any applicable stay
                   (including under Bankruptcy Rule 6004) and provision for immediate
                   effectiveness of the Proposed Order; and

           (i)     granting such other relief as is just and proper.

           2.      In support of this Motion, the Debtor relies on and incorporates by reference the

declaration of Angela Barkhouse (the “Barkhouse Declaration”), attached hereto as Exhibit B,

and the First Day Declaration.3

                                               BACKGROUND

           3.      The Debtor is an Antiguan company majority-owned by Samuel Bankman-Fried

(“SBF”) and is a chapter 11 debtor in this Court, whose case is jointly administered with the

chapter 11 cases of FTX Trading Ltd. and its affiliated debtors (“FTX”), In re FTX Trading, Ltd.,

et. al, Case No. 22-11068 (JTD).4

           4.      The Debtor’s only known purpose was to purchase approximately 56 million

shares of Robinhood Markets, Inc., which it did in or about May 2022 using funds purportedly

borrowed by the two owners from Alameda Research Ltd. (which is also majority-owned by

SBF).5 The Debtor sold a small fraction of these shares at some point, but otherwise held the

shares and the proceeds of the sale in an account in the Debtor’s name at ED&F Man Capital

Markets Inc., now known as Marex Capital Markets Inc. (“Marex”), in New York, until they



3
 Declaration of Angela Barkhouse in Support of the Debtor’s Chapter 11 Petition (the “First Day Decl.” or “First
Day Declaration”) [D.I. 3, Case No. 23-10149].
4
    D.I. 91, Case No. 23-10149; D.I. 1469, Case No. 22-11068.
5
 SBF Affidavit ¶ 7, Ex. 5 to Ex. B of Joshua Dorchak Decl., BlockFi Inc. v. Emergent Fidelity Techs. Ltd, Adv. Pro.
No. 22-01382 (MBK), ECF No. 19 (Bankr. D.N.J. Dec. 27, 2022).

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were seized by the DOJ in January 2023.6 On or about September 1, 2023, the DOJ sold the

Robinhood shares and continues to hold the sale proceeds (collectively, the “Assets”) pending

the outcome of the SBF criminal proceeding.7

           5.       On November 18, 2022, upon the petition of Yonatan Ben Shimon, the Eastern

Caribbean Supreme Court, High Court of Justice, Antigua and Barbuda (the “Antiguan Court”)

appointed Angela Barkhouse and Toni Shukla as Receivers over the Assets and SBF’s equity

interests in the Debtor (the “Receivership Proceeding”).8 On November 28, 2022, BlockFi, Inc.

(“BlockFi”) filed its chapter 11 petition in the New Jersey Bankruptcy Court and filed a

complaint and motion against the Debtor and Marex, seeking turnover of the Assets (the

“BlockFi Action”).9

           6.       On December 5, 2022, upon the petition of the Receivers, the Antiguan Court

placed the Debtor into provisional liquidation (the “Liquidation Proceeding”) and appointed Ms.

Barkhouse and Ms. Shukla as Joint Provisional Liquidators (“JPLs”) to wind up the Debtor’s

affairs (the “JPL Order”).10 The JPL Order authorized, among other things, the JPLs to obtain

financing in order to protect the Assets of the Debtor.11 On March 23, 2023, the Antiguan Court

placed the Debtor into full liquidation (as confirmed by the Antiguan Court Order dated July 14,

2023, the “JL Order”) and appointed Ms. Barkhouse and Ms. Shukla as Joint Liquidators (the

6
 First Day Decl. ¶ 6; United States’ Notice of Asset Seizures, In re FTX Trading Ltd., Case No. 22-11068 (JTD),
ECF No. 477 (Bankr. D. Del. Jan. 11, 2023).
7
    United States v. Samuel Bankman-Fried, Case No. 1:22-cr-00673 (LAK), ECF 242 (S.D.N.Y. Sept. 1, 2023).
8
    First Day Decl. ¶ 15.
9
  BlockFi Inc. v. Emergent Fidelity Techs. Ltd, Adv. Pro. No. 22-01382 (MBK), ECF Nos. 1, 2 (Bankr. D.N.J. Nov.
28, 2022). On April 17, 2023 and April 21, 2023, this Court and the New Jersey Bankruptcy Court, respectively,
approved a stipulation by which the Debtor, FTX, and BlockFi agreed to stay the BlockFi Action and all related
litigation pending the outcome of the SBF criminal proceeding. See In re FTX Trading Ltd., Case No. 22-11068-
JTD, D.I. 1297 (Bankr. D. Del. Apr. 17, 2023); In re BlockFi Inc., Case No. 22-19361-MBK, D.I. 760 (Bankr.
D.N.J. Apr. 21, 2023).
10
     The JL Order is attached as Exhibit B to the First Day Declaration.
11
     First Day Decl., Ex. B ¶ 4.

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“JLs”) of the Debtor. A true and correct copy of the JL Order is attached to the Barkhouse

Declaration as Exhibit 1.

       7.      The Debtor and its Assets are subject to several alleged claims and security

interests. To protect the Debtor’s interests in its Assets required litigation in several proceedings

in several courts, which in turn required funding. The JLs sought and obtained funding for the

Debtor, ultimately entering into the Liquidation Funding Agreement (as amended, supplemented

or otherwise modified and in effect, the “Existing Credit Agreement,” together with any other

agreements or documents executed in accordance and connection therewith, the “Prepetition

Loan Documents”) with the Prepetition Lenders on February 2, 2023. On the same day, the

Antiguan Court entered an order approving the Prepetition Loan Documents. All of the proceeds

of such loans were used to fund fees, expenses, and other accrued costs associated with defense

and litigation in both U.S. and Antigua, including the Debtor’s chapter 11 filing (the “Emergent

Chapter 11 Case”) on February 3, 2023 (the “Petition Date”).

       8.      Since the commencement of the Receivership Proceeding, SBF has engaged in a

campaign of repetitive and vexatious litigation in Antigua, with the goal of attempting to regain

control of the Debtor. Specifically, while indicted and awaiting trial, SBF has challenged the

JLs’ appointment as JPLs and as Receivers on various grounds. Almost all of SBF’s claims have

been denied, dismissed or otherwise disposed of in the JLs’ favor. The only material exception

to SBF’s series of defeats in the Antiguan Court is a carve-out from the litigation stay within the

JL Order that permits SBF to take further actions related to the Receivership Proceeding (but not

the Liquidation Proceeding). The JLs believe such stay relief was premature and procedurally

improper and are seeking clarity on the scope and effect of that order (the “JL Appeal”). The JL

Appeal is scheduled to be heard by the Court of Appeal during the week of October 23, 2023.



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SBF has made it clear that the only reason he wishes to lift the stay in the Receivership

Proceeding, so far as it regards himself, is to regain control of the Debtor. It is therefore

essential that the Debtor be able to move forward with the JL Appeal.

        9.       The DIP Facility will ensure that the Debtor has sufficient funds to continue with,

and most importantly, to succeed with the JL Appeal.

                                              JURISDICTION

        10.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware dated as of February 29, 2012. This is a core proceeding under 28

U.S.C. § 157(b). Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        11.      The Debtor consents, pursuant to Local Rule 9013-1(f), to the entry of a final

order by the Court in connection with this Motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        12.      The statutory bases for the relief requested in this Motion are sections 105, 361,

362, 364 and 507 of the Bankruptcy Code, as supplemented by Bankruptcy Rules 2002, 4001

and 9014, and Local Rules 2002-1, 4001-1 and 4001-2.

                                    SUMMARY OF DIP FACILITY

        13.      Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2, the following is a

concise summary of the proposed material terms of the DIP Facility and the DIP Term Sheet.12

DIP Facility Parties           Borrower: Emergent Fidelity Technologies Ltd


12
   The summaries contained in this Motion are qualified in their entirety by the DIP Documents. To the extent
anything in this Motion is inconsistent with such Documents, the terms of the applicable Documents shall control.
Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in this Motion or
the DIP Term Sheet, as applicable.

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Bankruptcy Rule          Lenders: Fulcrum Distressed Partners Limited, a limited company
4001(c)(1)(B)            organized under the laws of the British Virgin Islands, and/or its
                         designees
DIP Facility Amount      A short-term, senior secured debtor-in-possession credit facility (the
                         “DIP Facility”) in an aggregate principal amount up to GBP
Bankruptcy Rule          £250,000 (approximately USD $302,000 as of the filing of this
4001(c)(1)(B)            Motion) in new money advances pursuant to this DIP Term Sheet, as
                         may be further reflected in new credit agreements and other related
Local Rule               documents to be entered into in connection with the DIP Term Sheet
4001-2(a)(i)(A)          and the Proposed Order (the “DIP Facility”) (the “New Money
                         Amount”).
Order I.B

Use of Cash Collateral   N/A

Bankruptcy Rule
4001(c)(1)(B)

Local Rule
4001-2(a)(i)(A)

Liens and Priorities     DIP Obligations shall be:

Bankruptcy Rule          (a) pursuant to section 364(c)(2) of the Bankruptcy Code, secured by
4001(c)(1)(B)(i)         a perfected first-priority lien on the DIP Collateral to the extent that
                         such Collateral is unencumbered or subject to invalid, unperfected,
Order II.A               unenforceable or avoidable liens;

                         (b) pursuant to section 364(c)(3) of the Bankruptcy Code, secured by
                         a perfected second-priority lien on the DIP Collateral to secure the
                         DIP Obligations to the extent such Collateral is subject to any liens
                         that are (x) valid, perfected, enforceable and non-avoidable on the
                         Petition Date, including any disputed liens asserted by BlockFi to
                         the extent such liens are later found to be valid, perfected,
                         enforceable and non-avoidable, or (y) valid liens in existence on the
                         Petition Date that are perfected subsequent to the Petition Date in
                         accordance with section 546(b) of the Bankruptcy Code (together
                         with (a), the “DIP Liens”); and

                         (c) to the extent applicable under section 364(c)(1) of the Bankruptcy
                         Code, entitled to superpriority administrative expense claim status in
                         the Emergent Chapter 11 Case with priority over any and all
                         administrative expenses, whether heretofore or hereafter incurred, of
                         the kind specified in sections 503(b) or 507(a) of the Bankruptcy
                         Code.


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Parties with Interest in   N/A
Cash Collateral

Bankruptcy Rule
4001(c)(1)(B)(i)

Use of Proceeds            The New Money Amount shall be used solely for payment of
                           litigation expenses in Antigua, including the JL Appeal.
Bankruptcy Rules
4001(b)(1)(B)(ii),
4001(c)(1)(B)

Order I.C.3

Adequate Protection        N/A

Bankruptcy Rules
4001(b)(1)(B)(iv),
4001(b)(1)(C)(ii)

Fees                       N/A

Bankruptcy Rule
4001(c)(1)(B)

Local Rule
4001-2(a)(i)(B)

Interest Rate              Return on New Money Amount equals to principal outstanding
                           amount of the funded New Money Amount plus:
Bankruptcy Rule
4001(c)(1)(B)                    150% of the principal outstanding amount of the funded New
                                  Money Amount if repaid before 180 days following the date
Local Rule                        the funding amount is funded (the “Funding Date”);
4001-2(a)(i)(B)
                                 175% of the principal outstanding amount of funded New
                                  Money Amount if repaid after 180 days but before 270 days
                                  following the funding date;

                                 200% of the principal outstanding amount of funded New
                                  Money Amount if repaid after 270 days but before 360 days
                                  following the funding date; and

                                 225% of the principal outstanding amount of funded New
                                  Money Amount if repaid after 360 days following the funding
                                  date.

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                         If an Event of Default (as defined below) occurs and is continuing,
                         the interest rate shall increase by the default rate of 5%.

Limitation on Court’s    N/A
Power or Discretion to
Enter Future Orders

Local Rule
4001-2(a)(i)(C)

Funding to Non-          N/A
Debtor Affiliates

Local Rule
4001-2(a)(i)(D)

Conditions of            The availability of the DIP Facility shall be conditioned upon
Closing and              satisfaction of, among other things, the following conditions
Borrowing                precedent on a basis satisfactory to the DIP Lenders:

Bankruptcy Rule             1. Entry by the Court of an order, in form and substance
4001(c)(1)(B)                  satisfactory to the DIP Lenders, authorizing and approving
                               the transactions contemplated in the DIP Term Sheet within
Local Rule                     thirty (30) days of the execution of the DIP Term Sheet, and
4001-2(a)(i)(E)                finding that the DIP Lenders are extending credit to Debtor in
                               good faith within the meaning of Section 364(e) of the
Order I.C.4                    Bankruptcy Code (in the Bankruptcy Case) and comparable
                               statutes under Antigua law (in the Antigua proceedings).

                            2. Execution and delivery by the Debtor of the DIP Term Sheet
                               and all documentation in respect of the DIP Facility required
                               hereunder, satisfactory in all respects to the DIP Lenders.

                            3. Payment of all reasonable fees, costs and expenses (including
                               attorneys’ fees) owing to the DIP Lenders in connection
                               herewith.

                            4. No trustee or examiner shall have been appointed with respect
                               to the Debtor or any property of the Debtor.

                            5. There shall have been no material adverse change.

                            6. Other than the Cases, litigation with Samuel Bankman-Fried
                               concerning the Antiguan proceedings, and litigation with
                               BlockFi debtors or FTX debtors concerning competing claims

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                               to Debtor’s assets, there shall be no material pending or
                               threatened litigation, proceeding, bankruptcy or insolvency,
                               injunction, order or claim with respect to the Debtor.

                           7. The DIP Lenders shall have received the approval of its
                              loan/investment committees in connection with the DIP
                              Facility.

                           8. As a condition to the effectiveness of the DIP Facility and as
                              adequate protection for the DIP Lenders, the Debtor agrees
                              not to seek relief under Bankruptcy Code section 1129(b) or
                              any comparable law in Antigua with respect to the DIP Term
                              Sheet and the transactions contemplated by the DIP Term
                              Sheet.

                           9. Such other conditions as are required by the DIP Lenders and
                              are customary in the context of this type of financing.

Budget & Variances      N/A

Bankruptcy Rule
4001(b)(1)(B)(ii)

Local Rule
4001-2(a)(i)(E)

Carve Out               N/A

Bankruptcy Rule
4001(c)(1)(B)

Local Rule
4001-2(a)(i)(F)

DIP Liens on            The DIP Facility shall be secured, pursuant to section 364(c)(2) of the
Unencumbered Assets     Bankruptcy Code, by a perfected first-priority lien on the DIP
                        Collateral to the extent that such Collateral is unencumbered or
Local Rule              subject to invalid, unperfected, unenforceable or avoidable liens, and
4001-1(a)(i)(G)         a perfected second-priority lien on the DIP Collateral to the extent
                        such Collateral is subject to any liens that are (x) valid, perfected,
Order II.A              enforceable and non-avoidable on the Petition Date, including any
                        disputed liens asserted by BlockFi to the extent such liens are
                        later found to be valid, perfected, enforceable and non-avoidable,
                        or (y) valid liens in existence on the Petition Date that are perfected
                        subsequent to the Petition Date in accordance with section 546(b) of
                        the Bankruptcy Code.

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Chapter 11 Milestones   N/A

Bankruptcy Rule
4001(c)(1)(B)(vi)

Local Rule
4001-2(a)(i)(H)

Prepayment Penalty      N/A

Local Rule
4001–2(a)(i)(I)

Joint Liability of      N/A
Debtors

Local Rule
4001–2(a)(i)(J)

Payment of Lender       The Debtor shall pay on demand (a) all reasonable out-of-pocket
Expenses                expenses of the DIP Lenders associated with the negotiation,
                        preparation, execution, delivery and administration of the DIP Term
Bankruptcy Rule         Sheet, the DIP Facility, all agreements and documents related hereto
4001(c)(1)(B)(ix)       and any amendments or waivers with respect thereto (including the
                        reasonable fees, disbursements and other charges of counsel and
Local Rule              consultants), (b) all reasonable out-of-pocket expenses of the DIP
4001-2(a)(i)(K)         Lenders (including the fees, disbursements and other charges of
                        counsel) in connection with the enforcement of the DIP Facility and
Order I.D               the preservation, protection and defense of their rights under with
                        DIP Facility and with respect to the Cases, (c) review of the docket
                        pleadings and all filings in respect of any Case, and monitoring of the
                        Cases and attendance at hearings in respect of each Case, and (d) the
                        administration, monitoring and collection of the DIP Facility and all
                        other amounts due hereunder, including, without limitation, all filing
                        and recording fees and reasonable attorneys’, financial advisors’,
                        auditors’, accountants’, collection DIP Lenders’, appraisers’, and
                        other professional fees incurred in connection with each of the
                        foregoing.

                        The Debtor hereby authorize the DIP Lenders to charge the DIP
                        Facility from time to time for any and all amounts due and owing
                        with respect to the DIP Obligations (including, without limitation,
                        interest, costs, fees and expenses).




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Limitations on            N/A
Investigations of Liens

Local Rule
4001–2(a)(i)(L)

Events of Default         (a) the Debtor’s failure to obtain entry of an Order which is not
                          subject to any appeal, stay, vacation or reconsideration within thirty
Bankruptcy Rule           (30) days after the date hereof; (b) nonpayment of principal when
4001(c)(l)(B)             due; (c) nonpayment of interest, fees or other amounts when due; (d)
                          inaccuracy or breach of representations and warranties arising from
Local Rule                facts first occurring on or after the date of the commencement of the
4001-2(a)(i)(M)           Cases; (e) violation of covenants (including covenants contained
                          herein), arising from facts first occurring on or after the
Order III.A               commencement of the Cases (other than the commencement of the
                          Cases); (f) the occurrence of certain ERISA events; (g) the existence
                          of judgments not subject to the automatic stay; (h) the entry of an
                          order invalidating any security document in connection with the DIP
                          Term Sheet or the DIP Facility, or if the Debtor asserts the invalidity
                          of any such security document; (i) the occurrence of a change of
                          control; (j) the entry of an order dismissing any Case or converting
                          the Emergent Chapter 11 Case to a Chapter 7 case, either voluntarily
                          or involuntarily; (k) the entry of an order appointing a trustee in the
                          Emergent Chapter 11 Case; (l) the entry of an order granting any
                          other superpriority claim or lien equal or superior in priority to that
                          granted the DIP Lenders; (m) the entry of an order granting relief
                          from the automatic stay so as to allow a third party to proceed against
                          any asset or assets of the Debtor; (n) the entry of an order staying,
                          reversing, vacating or otherwise modifying the DIP Facility or the
                          Order; (o) the entry of an order appointing an examiner having
                          enlarged powers (beyond those set forth under Bankruptcy Code
                          §1106(a)(3) and (4)) or any other fiduciary or representative of the
                          estate with decision-making or other management authority; (p) the
                          impairment of any collateral security; (q) the commencement of
                          litigation by any government or regulatory authority against the
                          Debtor; (r) the occurrence of any act, condition or event occurring
                          after the date hereof that has or would reasonably expect to have a
                          material adverse effect upon the assets of the Debtor, or the Collateral
                          or the rights and remedies of the DIP Lenders under the DIP Term
                          Sheet, or the Order; (s) the termination or rejection, or the filing by
                          the Debtor of a motion terminating or rejecting, material contracts
                          except those approved by the DIP Lenders; (t) any change shall
                          occur, or be ordered, with respect to Debtor’s existing, prepetition
                          cash-management system, or existing, prepetition bank accounts; (v)
                          proposal or confirmation of a plan of reorganization unless such plan
                          as proposed or confirmed provided for indefeasible payment in full in

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                       cash of all Obligations at confirmation and is otherwise acceptable to
                       the DIP Lenders; (w) any order providing for the sale of any assets of
                       the Debtor shall be entered by the Court and/or the Antiguan Court
                       unless, upon the consummation of such sale transaction, all
                       prepetition liens are transferred to the proceeds of such sale and,
                       subject to the Prior Permitted Liens (as defined in the Proposed
                       Order), such proceeds are received at closing therein by the DIP
                       Lenders and applied to permanently and indefeasibly pay the
                       obligations under the DIP Facility and the DIP Term Sheet; (x) any
                       order providing for the sale of any assets of the Debtor shall be
                       entered by the Court and/or the Antiguan Court unless (A) upon the
                       consummation of such transaction, the obligations under the DIP
                       Facility and the DIP Term Sheet are permanently and indefeasibly
                       paid in full, in cash, or (B) the DIP Lenders have consented to such
                       sale; (y) any motion by the Debtor to approve bidding procedures for
                       the sale of any assets of the Debtor that constitutes Collateral fails to
                       provide, pursuant to Section 363(k) of the Bankruptcy Code, that the
                       DIP Lenders shall have the right to credit bid; (z) Debtor suspends or
                       discontinues or is enjoined by any court or governmental agency
                       from continuing to conduct all or any part of its business without the
                       DIP Lenders’ prior written consent, or a trustee, receiver or custodian
                       (other than the Joint Liquidators) is appointed for Debtor or any of its
                       properties; (aa) the entry of an order for the obtaining of credit or
                       incurring of debt other than pursuant to the DIP Facility; or (bb) the
                       filing of any pleading by the Debtor seeking, or otherwise consenting
                       to any of the matters set forth above (each of the foregoing, an “Event
                       of Default”). The DIP Lenders, may, in their sole discretion, waive
                       any Events of Default under the DIP Facility.

                       The DIP Lenders, may, in their sole discretion, waive any Events of
                       Default under the DIP Facility.

                       Upon the occurrence of an Event of Default, the DIP Lenders, at the
                       direction of the DIP Lenders, may terminate permanently as of a date
                       certain the DIP Facility (the date of any such termination, the
                       “Termination Date”), declare the DIP Obligations to be immediately
                       due and payable and exercise all rights and remedies provided for
                       hereunder and under the Order.

Cross-Collateralization N/A

Local Rule
4001–2(a)(i)(N)




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Roll Up                  N/A

Local Rule 4001–
2(a)(i)(O)

Non-Consensual           N/A
Priming Liens

Local Rule
4001–2(a)(i)(P)

Debtor’s Stipulations    N/A

Bankruptcy Rule
4001(c)(1)(B)(iii)

Local Rule
4001–2(a)(i)(Q)

Immediate Approval       The Debtor requests that for reasons set forth in this Motion and the
of DIP Documents         Barkhouse Declaration, the provisions of the Proposed Order, the
                         liens and claims, and any and all rights, remedies, privileges and
Local Rule               benefits in favor of the DIP Lenders, provided or acknowledged in
4001–2(a)(i)(R)          the Proposed Order, and any actions taken pursuant thereto, shall be
                         effective immediately upon entry of the Proposed Order pursuant to
Order V.I                Bankruptcy Rules 6004(g) and 7062, shall continue in full force and
                         effect, and shall survive entry of any such other order, including,
                         without limitation, any order which may be entered confirming any
                         plan of reorganization, converting the Emergent Chapter 11 Case to
                         any other chapter under the Bankruptcy Code, or dismissing the
                         Emergent Chapter 11 Case.

Notice of an Event of    The Debtor requests that for reasons set forth in this Motion and the
Default                  Barkhouse Declaration, upon the occurrence of and during the
                         continuance of an Event of Default that does not also trigger the
Local Rule               occurrence of the Maturity Date, and without the necessity of seeking
4001–2(a)(i)(S)          relief from the automatic stay or any further Order of the Court (i) the
                         DIP Lenders shall be entitled to charge the default rate of interest
Order III.B              under the DIP Facility and (ii) subject only to the notice requirement
                         set forth below, the DIP Lenders shall be entitled to take any other act
                         or exercise any other right or remedy as provided in the Proposed
                         Order, the DIP Term Sheet, or applicable law, including, without
                         limitation, setting off any DIP Obligations with DIP Collateral, or
                         proceeds in the possession of the DIP Lenders, and enforcing any and
                         all rights and remedies with respect to the DIP Collateral.


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Limitations on           Please see above.
Arguments in the
Event of a Default

Local Rule
4001–2(a)(i)(T)

Order III.B

Liens on Chapter 5       The DIP Liens cover the Debtor’s claims and causes of action under
Causes of Action         Chapter 5 of the Bankruptcy Code and proceeds thereof.

Bankruptcy Rule
4001(c)(1)(B)(xi)

Local Rule
4001– 2(a)(i)(U)

Order II.A

506(c) Waiver            Subject to entry of the Proposed Order, the DIP Lenders shall be
                         entitled to a waiver of the provisions of section 506(c) of the
Bankruptcy Rule          Bankruptcy Code.
4001(c)(1)(B)(x)

Local Rule
4001– 2(a)(i)(V)

Order V.A

Section 552(b)(1)        The Debtor requests that for reasons set forth in this Motion and the
“Equities of the Case”   Barkhouse Declaration, the DIP Lenders shall be entitled to all of the
Waiver                   rights and benefits of Bankruptcy Code section 552(b), and the
                         “equities of the case” exception under Bankruptcy Code section
Local Rule               552(b) shall not apply to DIP Lenders with respect to proceeds,
4001–2(a)(i)(W)          product, offspring, or profits of any of the DIP Collateral, as
                         applicable.
Order V.C

Marshaling Waiver        The Debtor requests that for reasons set forth in this Motion and the
                         Barkhouse Declaration, the DIP Lenders shall not be subject to the
Local Rule               equitable doctrine of “marshalling” or any similar doctrine with
4001–2(a)(i)(X)          respect to the DIP Collateral.

Order V.D


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Waiver/Modification     The automatic stay is modified to (a) permit the Debtor to grant the
of the Automatic        security interests, liens, and superpriority claims described above and
Stay                    to perform such acts as may be requested to assure the perfection and
                        priority of such security interests and liens, and (b) permit the DIP
Bankruptcy Rule         Lenders to exercise rights and remedies under certain circumstances.
4001(c)(1)(B)(iv)

Order V.H

Waiver/Modification     N/A
of Applicability of
Nonbankruptcy Law
Relating to
Perfection or
Enforceability of
Liens

Bankruptcy Rule
4001(c)(1)(B)(vii)

Release, Waiver, or     The Proposed Order includes a release of the DIP Lenders, each in
Limitation on Any       their capacity as such, with respect to any and all claims and causes
Claim or Cause of       of action that exist on the date of entry of the Proposed Order with
Action Belonging to     respect to and relating to the DIP Obligations, the DIP Liens and the
the Estate              DIP Documents.

Bankruptcy Rule         Upon the indefeasible payment in full of all DIP Obligations owed to
4001-2(c)(1)(B)(viii)   the DIP Lenders by the Debtor and termination of the rights and
                        obligations arising under the Proposed Order and the DIP Facility
Order IV                (which payment and termination shall be on terms and conditions
                        acceptable to the DIP Lenders), the DIP Lenders shall be
                        automatically deemed absolutely and forever released and discharged
                        from any and all obligations, liabilities, actions, duties,
                        responsibilities, commitments, claims and causes of action arising or
                        occurring in connection with or related to the DIP Facility or the
                        Proposed Order (whether known or unknown, direct or indirect,
                        matured or contingent, foreseen or unforeseen, due or not due,
                        primary or secondary, liquidated or unliquidated).

Indemnification         The DIP Lenders (and their respective affiliates, officers, directors,
                        employees, advisors and DIP Lenders) will have no liability for, and
Bankruptcy Rule         will be indemnified and held harmless against, any loss, liability, cost
4001(c)(1)(B)(ix)       or expense incurred in respect of the postpetition financing
                        contemplated hereby or the use or the proposed use of the proceeds
                        thereof (except to the extent resulting from the gross negligence or
                        willful misconduct of the indemnified party).

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Cases                        (a) the Emergent Chapter 11 Case and (b) that certain proceedings
                             (the Antigua Proceedings”) under the International Business
                             Corporations Act, CAP 222, in the Antiguan Court.

Term                         The Obligations shall be repaid in full at the earliest of (i) the 450th
                             day from the Petition Date (the “Maturity Date”), (ii) the Termination
                             Date, and (iii) the conversion of the Emergent Chapter 11 Case to a
                             Chapter 7 proceeding or dismissal of the Antigua Proceeding.
Remedies                     The DIP Lenders shall have customary remedies, including, without
                             limitation, the right (after providing three business days’ prior notice
                             to Debtors and any statutory committee of the occurrence of the
                             Termination Date) to realize on all Collateral without the necessity of
                             obtaining any further relief or order from the Court or the Antiguan
                             Court. The Court shall retain exclusive jurisdiction with respect to all
                             matters relating to the exercise of rights and remedies hereunder, and
                             under the Order, and with respect to the Collateral.
Cash Management              The Debtor shall maintain a cash management system as under the
                             Prepetition Loan Documents.
Governing Law                State of New York except to the extent governed by the Bankruptcy
                             Code or Antigua law.

                                       BASIS FOR RELIEF

     I.           The Court Should Approve the DIP Facility.

          14.     The Debtor’s ability to maximize the value of its estate hinges on the Debtor’s

ability to access postpetition financing. Section 364 of the Bankruptcy Code distinguishes

among (a) obtaining unsecured credit in the ordinary course of business, (b) obtaining unsecured

credit outside the ordinary course of business, and (c) obtaining credit with specialized priority

or on a secured basis. Pursuant to section 364(c) of the Bankruptcy Code, if a debtor cannot

obtain postpetition credit on an unsecured basis, a court may authorize such debtor to obtain

credit or incur debt that is entitled to superpriority administrative expense status, secured by a

senior lien on unencumbered property, or secured by a junior lien on encumbered property. See

11 U.S.C. § 364(c). Further, under section 364(d) of the Bankruptcy Code, courts also may

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authorize postpetition credit secured by a senior or equal lien on encumbered property if the

debtor cannot obtain credit elsewhere and the interests of existing lienholders are adequately

protected. See 11 U.S.C. § 364(d)(1).

                A.       Entry into the DIP Documents is an Exercise of the Debtor’s Sound
                         Business Judgment.

        15.     The Court should authorize the Debtor to enter into the DIP Documents, obtain

postpetition financing under the DIP Facility, and use proceeds of the DIP Facility as permitted

in the DIP Documents. Courts grant considerable deference to a debtor’s business judgment in

obtaining postpetition secured credit so long as the agreement to obtain such credit does not run

afoul of the provisions and underlying policy considerations of the Bankruptcy Code. See, e.g.,

In re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always

defer to the business judgment of a debtor in the selection of the lender.”); In re Trans World

Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition loan and

receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In

re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently

reflect that the court’s discretion under section 364 is to be utilized on grounds that permit

reasonable business judgment to be exercised so long as the financing agreement does not

contain terms that leverage the bankruptcy process and powers or its purpose is not so much to

benefit the estate as it is to benefit a party-in-interest.”).

        16.     To determine whether a debtor has met the business judgment standard, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also

In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts

should not second guess a debtor’s business decision when that decision involves “a business


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judgment made in good faith, upon a reasonable basis, and within the scope of [the debtor’s]

authority under the [Bankruptcy] Code”).

       17.     Courts generally will not second-guess a debtor’s business decisions when those

decisions involve a minimum level of care in arriving at the decision on an informed basis, in

good faith, and in the honest belief that the action was taken in the best interest of the debtor.

See In re Los Angeles Dodgers LLC, 457 B.R. at 313. To determine whether the business

judgment test is met, “the court ‘is required to examine whether a reasonable business person

would make a similar decision under similar circumstances.’” In re Dura Auto. Sys., Inc., No.

06-11202 (KJC), 2007 WL 7728109, at *97 (Bankr. D. Del. Aug. 15, 2007) (citation omitted).

Further, in considering whether the terms of postpetition financings are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the

potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re

Ellingsen MacLean Oil Co.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may

have to enter into “hard bargains” to acquire funds for its reorganization); In re Johns-Manville

Corp., 60 B.R. 612, 615–16 (Bankr. S.D.N.Y. 1986) (“[T]he [Bankruptcy] Code favors the

continued operation of a business by a debtor and a presumption of reasonableness attaches to a

debtor’s management decisions.”).

       18.     The Debtor’s entry into the DIP Facility represents a sound exercise of its

business judgment.    The Debtor requires access to the DIP Facility because access to the

proceeds thereof will allow the Debtor to defend itself against SBF, and most importantly to

succeed with the JL Appeal.




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       19.     The terms of the DIP Facility were negotiated in good faith and at arm’s length,

resulting in the most favorable terms the Debtor could obtain under the circumstances.

Accordingly, the Court should authorize the Debtor’s entry into the DIP Facility as a reasonable

exercise of the Debtor’s business judgment.

               B.      No Comparable Alternative to the DIP Facility Is Reasonably
                       Available.

       20.     A debtor need only demonstrate “by a good faith effort that credit was not

available without” the protections afforded to potential lenders by section 364(c) of the

Bankruptcy Code. In re Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re

Plabell Rubber Prods., Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992).              Moreover, in

circumstances where only a few lenders likely can or will extend the necessary credit to a debtor,

“it would be unrealistic and unnecessary to require [the debtor] to conduct such an exhaustive

search for financing.” Sky Valley, Inc., 100 B.R. at 113; see also In re Snowshoe Co., 789 F.2d

at 1088 (demonstrating that credit was unavailable absent the senior lien by establishment of

unsuccessful contact with other financial institutions in the geographic area); In re Stanley Hotel,

Inc., 15 B.R. 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks

refused to grant unsecured loans was sufficient to support conclusion that section 364

requirement was met); In re Ames Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it

made reasonable efforts to seek other sources of financing under section 364(a) and (b)).

       21.     Here, the Debtor has made a good faith effort to seek out optimal postpetition

financing arrangements to meet its short-term liquidity needs. Although the Debtor has engaged

with other interested parties with respect to an alternative financing facility, to date, no other

party has committed to provide funding. Accordingly, the Debtor determined in its business

judgment that the DIP Facility constitutes the best available solution to the Debtor’s financing

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needs under the current circumstances of the Emergent Chapter 11 Case. The DIP Facility

represents the best option available to address the Debtor’s immediate liquidity needs, and the

terms and conditions of the DIP Facility are reasonable and appropriate under the circumstances.

    II.        The 506(c) Surcharge Waiver Should be Approved.

       22.     Section 506(c) of the Bankruptcy Code provides that the debtor in possession may

recover from property securing an allowed secured claim the reasonable, necessary costs and

expenses of preserving, or disposing of, such property to the extent of any benefit to the holder

of such claim. 11 U.S.C. § 506(c). The section 506(c) surcharge waiver is appropriate where, as

here, the Debtor has reasonably exercised its informed business judgment and determined that

such waiver is necessary to obtain postpetition financing on the best possible terms. See, e.g.,

Trans World Airlines, Inc. v. Travellers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R.

964, 974 (Bankr. D. Del. 1994) (approving postpetition loan and receivables facility because

such facility “reflect[ed] sound and prudent business judgment”).

   III.        The DIP Lenders Should be Deemed a Good Faith Lender

       23.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to

collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

appeal. Section 364(e) of the Bankruptcy Code provides that:

               The reversal or modification on appeal of an authorization under this
               section [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a
               grant under this section of a priority or a lien, does not affect the validity
               of any debt so incurred, or any priority or lien so granted, to an entity that
               extended such credit in good faith, whether or not such entity knew of the
               pendency of the appeal, unless such authorization and the incurring of
               such debt, or the granting of such priority or lien, were stayed pending
               appeal.

11 U.S.C. § 364(e).


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       24.     Here, the Debtor believes that the DIP Facility embodies the most favorable terms

on which the Debtor could obtain postpetition financing and, as noted above, negotiations of the

terms of the DIP Documents with the DIP Lenders were conducted in good faith and at arm’s

length. The DIP Lenders are neither an insider nor an affiliate of the Debtor. The terms and

conditions of the DIP Documents are fair and reasonable, and the proceeds of the DIP Facility

will be used only for purposes that are permissible under the Bankruptcy Code, and in

accordance with the DIP Documents. Accordingly, the Court should find that the DIP Lenders

are a “good faith” lender within the meaning of section 364(e) of the Bankruptcy Code, and are

entitled to all of the protections afforded by that section.

    IV.        Modification of the Automatic Stay is Warranted

       25.     The relief requested in this Motion contemplates a modification of the automatic

stay to permit the Debtor and the DIP Lenders, as applicable, to, among other things: (i) grant the

security interests, liens, and superpriority claims described above and to perform such acts as

may be requested to assure the perfection and priority of such security interests and liens; (ii)

upon the occurrence of an Event of Default under the DIP Documents, subject to any applicable

notice periods set forth in the Proposed Order, exercise any remedies available to them; and (iii)

implement the terms of the Proposed Order, including payment of all amounts referred to in the

DIP Documents.

       26.     Stay modifications of this kind are ordinary and standard features of debtor-in-

possession financing arrangements and, in the Debtor’s business judgment, are reasonable and

fair under the circumstances of the Emergent Chapter 11 Case. See, e.g., In re FB Debt

Financing Guarantor, LLC, No. 23-10025 (KBO) (Bankr. D. Del. Feb. 16, 2023); In re OSG

Group Holdings, Inc., No. 22-10718 (JTD) (Bankr. D. Del. Aug. 9, 2022); In re RentPath

Holdings, Inc., No. 20-10312 (BLS) (Bankr. D. Del. Mar. 10, 2020); In re Blackhawk Mining
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LLC, No. 19-11595 (LSS); (Bankr. D. Del. Aug. 13, 2019); In re Z Gallerie, LLC, No. 19-10488

(LSS) (Bankr. D. Del. Apr. 9, 2019).

                                   RESERVATION OF RIGHTS

         27.     Nothing contained in this Motion or any actions taken pursuant to any order

granting the relief requested by this Motion is intended or shall be construed as: (a) an admission

as to the validity of any claim against the Debtor; (b) a waiver of the Debtor’s rights to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion or any order

granting the relief requested by this Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a waiver or

limitation of the Debtor’s rights under the Bankruptcy Code or any other applicable law.

                                              NOTICE

         28.     Notice of this Motion has been or will be provided to: (a) the U.S. Trustee; (b) the

Securities and Exchange Commission; (c) the Internal Revenue Service; (d) the United States

Department of Justice; (e) the United States Attorney for the District of Delaware; (f) the DIP

Lenders; (g) the parties identified on the Debtor’s list of 20 largest unsecured creditors; (h) all

parties known to hold or assert liens against the Debtor’s assets; and (i) to the extent not listed

herein, those parties requesting notice in the Emergent Chapter 11 Case pursuant to Bankruptcy

Rule 2002. The Debtor submits that, in light of the nature of the relief requested, no other or

further notice need be provided.

                                      NO PRIOR REQUEST

         29.     No prior motion for the relief requested herein has been made to this or any other

Court.



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       WHEREFORE, for the reasons set forth herein, the Debtor respectfully requests that the

Court (a) enter the Proposed Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.

Dated: October 6, 2023                               MORGAN, LEWIS & BOCKIUS LLP
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